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                              Unsealed on 12/3/2021-A.G.
                              SEALED



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   UNITED STATES OF AMERICA
 1
            v.
 2 BRENDA BLANCK
 3
 4                            PROBABLE CAUSE STATEMENT
 5        This statement is based on discussions with other law enforcement officers, reports,
 6 and documents furnished to the Federal Bureau of Investigations.
 7        On or about January 29, 2018, a San Diego Sherriff’s deputy was in uniform and
 8 driving a marked vehicle when he encountered a vehicle crossing over the double-yellow
 9 lines on a road near Lakeside, California. Based on this activity, he initiated a traffic stop
10 and contacted the driver and sole occupant, Brenda BLANCK (BLANCK).
11        BLANCK informed the deputy she did not have a driver’s license and gave him a
12 false name. After some initial identification questions, the deputy recognized BLANCK
13 because she had an outstanding felony warrant. The deputy removed BLANCK from the
14 vehicle. When asked if she had anything illegal on her person, BLANCK told the deputy
15 she had something in her purse, which was located in the vehicle.
16        Deputies located the purse in the front seat of the vehicle. Inside the purse they found
17 a small zippered pouch that contained 7 individual baggies totaling approximately 17.8
18 grams of methamphetamine. They also found additional unused baggies, a
19 methamphetamine pipe, and $233 USD.
20        The substance was sent to the DEA lab for analysis. The lab confirmed that it was
21 methamphetamine with a pure weight of 17.33 grams at 99% purity.
22        Records checks on BLANCK revealed the following relevant criminal history:
23      CONVICTION          COURT   OF CHARGE                              TERM      OF
        DATE                CONVICTION                                     IMPRISONMENT
24
25      8/31/11             CASC – San         HSC 11378 – Possess         16 months’ prison
26                          Diego              Cntld Sub for Sale
                                               (felony)
27
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1                                 REQUEST FOR SEALING
2        It is further respectfully requested that this Court issue an Order sealing, until further
3 order of this Court, all papers submitted in support of this complaint, including the probable
4 cause statement and arrest warrant. Sealing is necessary because premature disclosure of
5 the contents of this probable cause statement and related documents may cause the
6 defendant to flee and may cause destruction of evidence and may have a negative impact
7 on this continuing investigation.
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